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                                 U N ITED STA TES DISTRIC T C O U R T
                                 SO UTH ERN D ISTR IC T O F FLO R IDA

                           CASE NO. 14-20347-CR-M lDDV:BRO OK S


   UN ITED STATE S O F AM ER ICA

   V S.

   R IC H A R D SH ER ID A N ,

           D efendant.                 /


                                     JO INT FAC TU A L PR O FFER

          lf this m atter w ere to proceed to trial,the U nited States and the defendant,RICH ARD

   SHERID AN ,agree thatby photographs,docum entary evidence,and the testim ony of witnesses,

   the U nited States would establish the follow ing beyond a reasonable doubt:

                 TheEndangeredSpeciesAct(itESA''),Title16,UnitedStatesCode,Sections1531
      seq., w as enacted by Congress to conserve endangered and threatened species and the

   ecosystem s upon w hich they depend.The term lkendangered species''m eans any species,or pal't

   thereof,w hich is in danger ofextinction throughoutallora significantportion ofitsrange. Title

   16,United StatesCode,Section 1532(6).
                 Allspeciesdetenuined to be endangered underthe ESA are listed in Title 50,Code

   ofFederalRegulations,Section 17.11.V arious species of rhinoceros have been listed under the

   ESA asearly as 1970,and atal1relevanttim es,five ofthe six extantspeciesw ere included w ithin

   itsprotection,to include theBlack,GreatIndian,Javan,N orthern W hite,and Sum atran rhinoceros.

   The ESA m akes itunlaw fulto knowingly deliver,receive,carry,transport,or ship in interstate or

   foreign com m erce, by any m eans w hatsoever and in the course of a com m ercial activity,
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   endangered species of fish and w ildlife, including rhinoceros; and to sell and offer to sell

   endangered species of w ildlife,including rhinoceros,in interstate and foreign com m erce,as set

   forth in Title 16,United StatesCode,Sections 1538(a)(1)(E)and (F)and 1540(b)(l).Federal
   regulationsalso require that,upon exportation of any w ildlife,exporters ortheir agents m ustfile

   with the U.S.Fish & W ildlife Service (FW S) a completed declaration for Importation or
   ExportationofFishandW ildlifetFonn 3-177),andthatallwildlifeexpol'tsmustbeclearedbyan
   FW S officer.50 C.F.R.j 14.61.The wildlife being exported,along with allrequired pennits,
   licenses,andotherdocumentsmustalsobepresentedtotheofticer.50C.F.R.j 14.52.
                 The tenu tttish orw ildlife''asused in the ESA extendsto any part,product,egg,or

   offspring thereof, or the dead body or parts thereof. Title 16, U nited States Code, Section

   1532(8).
                 O n April 18,          R ICHA RD SHERIDA N and co-conspirator M ICH A EL

   H EGA RTY traveled from London,England,to A tlanta,G eorgia,and on to M iam i,Florida the

   following day.

                 On A pril 25, 2012, SH ERID AN , H EG A RTY , and a third individual, ûCK M ,''

   attended an auction in Rockingham ,N ol'th Carolina.Attheauction,K M w asregistered asa bidder,

   w ith the required personalinfonnation ofK M being supplied to the auction house by H EGA RTY .

   RICHA RD SH ERID AN ,how ever,actually functioned asthebidderduring the auction processon

   behalf of the three individuals, and m ade the w ilm ing bid for a rhinoceros horn libation cup

   described asçûlsot463:Chinese lthinocerosHorn Chilong Libation Cup,''for$57,500,inclusive
   ofa 15% buyer'sprem ium .
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                  O n M ay 3, 2012, K M , acting at the direction of M ICH AEL HEGA RTY and

   RICHARD SHERIDAN sentawiretransferof$59,225from abank accountin M iami,Florida,to

   the auction house in Rockingham ,N orth Carolina,aspaym entfor the item s purchased on A pril

   25, 2012. O n M ay 4, 2012, H EGA RTY , who w as then in Coconut Grove, Florida, had a

   telephone conversation w ith an em ployee of a Federal Express office in H illsborough,N ol'th

   Carolina.H EGA RTY instructed the em ployee to pick up the item spurchased on A pril25,2012,

   including the rhinoceros horn libation cup,from the auction house in Rockingham ,and to ship the

   item sto an addressin Florida.

                  On M ay 7,2012,the item spurchased on A pril25,2012,including the rhinoceros

   horn libation cup, were received by RICH A RD SH ERIDA N and M IC HA EL H EGA RTY in

   Florida.

                  H EG A RTY and SH ER ID AN assured K M ,w ho had provided the funding forthe

   purchase ofthe libation cup,thatitw as an excellentinvestm entand thatthey w ere experienced in

   such transactions.They furtheradvised thata tlaw in the cup could be repaired and thatthey w ere

   associated with individuals in the United K ingdom w ho could effectthe repairs and enhance the

   value ofthe libation cup.HEGA RTY and SH ER ID AN told KM they would take the cup to the

   United Kingdom forthatpurpose.H EGA RTY stated thathe w ould need to Sçm ake up docum ents''

   so thatthe rhinoceroshorn libation cup would kim ake itthrough Custom sand notpay taxes.''K M

   and H EGA RTY cutand pasted infonuation to falsify an invoice.

                  O n M ay l6,2012,R ICHA RD SH ERIDAN sm uggled the rhino hol'n libation cup

   outofthe United Statesin hisluggage,ashe traveled from M iam i,viaA tlanta,to London,England.

   H e failed to firstdeclare the rhino horn libation cup asrequired by 1aw to the U .S.Fish & W ildlife
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   Service and neither applied for nor obtained the perm it required under the Endangered Species

   Act.

          10.    On July 19,2012,R ICH A RD SH ERIDA N ,along w ith tw o other lrish nationals,

   were arrested by M etropolitan Police in W andsw orth,London,w hile attem pting to sellthe sam e

   rhinoceroshorn libation cup to a H ong K ong native.SHERIDAN ,w ho claim ed ownership ofthe

   item,alsohadtheLottag from theauction houseidentifyingthelibation cup,aswellaswrappings

   and otherm aterialfrom the N orth Carolina salestransaction.

                 Subsequent scientific analysis of the libation cup seized in connection w ith the

   arrestofRICH ARD SHERIDA N revealed thatitwasderived from a GreatIndian rhinoceros.

                                             C onclusion

          Based upon the foregoing,the United States and the D efendantrespectfully subm itthata

   reasonablejurywouldfindthatRICHARD SHERIDAN isguiltybeyond areasonabledoubtof
   fraudulently and know ingly concealing and in any m anner facilitating the transportation and

   concealm entof a Libation Cup carved from an endangered Rhinoceros horn,priorto exportation,

   know ing thesam eto be intended forexpol.tcontrary to any law and regulation ofthe United States,

   specifically Title 16,United StatesCode,Section 1538(c)(1)and the regulationspromulgated
   thereunder,in violation ofTitle 18,U nited States Code,Sections 554 and 2.


                                                      Respectfully subm itted,

                                                      AR      A FA JAR D    O RSHA N
                                                      UN      D TA TES        ORN EY

                                           By:
                                                      Th as A .W atts-F'zGerald
                                                      A ssistantUnited StatesA ttorney
                                                      Florida BarN o.0273538
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                                                        W .
                                           G ary N . onner
                                           TrialA ttorney
                                           Environm entalCrim es Section
                                           U .S.D epartm entofJustice


        R eview ed and agreed to:




   Date: /# / /                     By:
                                             ANUEL ONZA         Z, .,ESQ.
                                           A TORN EY FO R DEFE DA N T


   Date:/9 /uoI-1                         % f.
                                           RICH A RD SH ER ID AN
                                           D EFEN D AN T
